
WHITE, J.,
delivered the judgment of the Court:
• 1. That the fact, that a Grand Juror is the owner of a Mill, can be pleaded in abatement to a Presentment made by the Grand Jury. 2. That it is proper to admit that plea, although another plea in abatement was at the same time pleaded, and issue joined thereon.
Note (In edition of 1853). — It is thus decided, that the disqualification of being Constables, owners of Mills, &amp;c. is put on the same footing as the qualification of Citizenship, and Freehold. A Presentment, made by a Grand Juror who possesses the former, as well as the'one whowantsthe latter, maybe avoided by plea in abatement. See the Case of William Cherry, laboriously árgued and decided by the Court, ante, p. 20.
